Case 5:16-cv-10444-JEL-EAS ECF No. 1085, PageID.27336 Filed 03/12/20 Page 1 of 4




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

  ORDER REGARDING MATTERS DISCUSSED AT THE MARCH
            11, 2020 STATUS CONFERENCE

          The Court held a status conference regarding its pending Flint

 water litigation on March 11, 2020. The Court now orders as follows:

    I.      In re Flint Water Cases, Third Amended Case
            Management Order

          The Court will enter a Third Amended Case Management Order

 (CMO) following this conference. The CMO will incorporate several

 recently ordered amendments including the parties’ proposal for the next

 round of bellwether selection and adjustments to the class certification

 motion schedule.

    II.     Motions to Dismiss in Individual Cases
Case 5:16-cv-10444-JEL-EAS ECF No. 1085, PageID.27337 Filed 03/12/20 Page 2 of 4




       The Court set a briefing schedule for MDEQ Defendants’ motions

 to dismiss individual Short Form Complaints in the following cases:

 Mahan v. Snyder, Case No. 19-cv-12665 (ECF No. 13); Davidson v.

 Snyder, Case No. 19-cv-12675 (ECF No. 13); Cole v. Snyder, Case No. 19-

 cv-12709 (ECF No. 11); Langston v. Snyder, Case No. 19-cv-12878 (ECF

 No. 11); and Shields v. Snyder, Case No. 19-cv-12882 (ECF No. 12.)

       Responses to these motions to dismiss are due on March 25, 2020

 and any replies are due on April 8, 2020. The Court will address these

 motions at the next status conference.

    III. Amendment           to    the    Order      Appointing       Facilitative
         Mediators

       The Court hereby amends the Order Appointing Facilitative

 Mediators (ECF No. 324) by setting aside the fee schedule for the fourth

 quarter of 2019. 1 Any disputes regarding compensation, costs and




       1The Order currently establishes a fifty/fifty fee split between Plaintiffs and
 Defendants:
      Interim co-lead class counsel and individual liaison counsel will pay one-
      half of all hourly rates, expenses, and costs, and defense counsel will pay
      one-half of all hourly rates, expenses, and costs incurred by the
      Mediators. Any disputes regarding compensation, costs and expenses,
      or the allocation of payment of such fees and costs among the parties,
      will be brought to the Court’s attention.
 (ECF No. 324, PageID.11692.)
                                          2
Case 5:16-cv-10444-JEL-EAS ECF No. 1085, PageID.27338 Filed 03/12/20 Page 3 of 4




 expenses, or the allocation of payment of such fees and costs among the

 parties, will be brought to the Special Master for decision, or for her to

 prepare a report and issue recommendations to the Court. (See ECF No.

 544.)

    IV.      Telephonic Discovery Conferences

         The following dates are set for telephonic discovery conferences as

 needed: Wednesday, March 18, 2020 at 3:00pm and Wednesday April 8,

 2020 at 2:00pm. 2

    V.       Scheduling of Next Status Conference

         The next status conference will be held on Wednesday, April 15,

 2020 at 3:00pm in Ann Arbor, Michigan. Parties are to file proposed

 agenda items in Case No. 16-cv-10444 by April 1, 2020. Individual liaison

 counsel should collect proposed agenda items from all counsel

 representing individual plaintiffs and submit those proposed items as a

 single filing. The Court will issue an agenda by April 8, 2020.

         IT IS SO ORDERED.

 Dated: March 12, 2020                        s/Judith E. Levy
 Ann Arbor, Michigan                          JUDITH E. LEVY
                                              United States District Judge


        Please note the date and time changes from those listed in the earlier issued
         2

 Agenda for the March 11, 2020 Status Conference. (ECF No. 1076.)
                                          3
Case 5:16-cv-10444-JEL-EAS ECF No. 1085, PageID.27339 Filed 03/12/20 Page 4 of 4




                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on March 12, 2020.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




                                       4
